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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MAINE


   DAVID FIACCO                                  )
                                                 )
                 Plaintiff,                      )
                                                 )
   v.                                            )      Docket No. 1:05-cv-145-GZS
                                                 )
   SIGMA ALPHA EPSILON                           )
   FRATERNITY                                    )
                                                 )
                 Defendant.                      )
                                                 )

                  ORDER ON MOTION FOR SUMMARY JUDGMENT

          Before the Court is Defendant’s Motion for Summary Judgment (Docket # 54).

   Through this Motion, Sigma Alpha Epsilon Fraternity (“SAE”) seeks summary judgment

   on all counts alleged by Plaintiff David Fiacco arising out of the distribution of a

   memorandum and various documents in the fall of 2002. After reviewing the parties’

   submissions, the Court GRANTS the Motion for the reasons explained below.

   I.     BACKGROUND

          Plaintiff David Fiacco was hired by the University of Maine in Orono as the

   Director of Judicial Affairs in 2001. Fiacco was responsible for overseeing the process

   through which allegations of student misconduct were investigated, adjudicated and

   potentially sanctioned.     Fiacco had the capacity to investigate allegations of student

   misconduct, adjudicate cases, conduct hearings himself and prescribe sanctions or refer a

   case to a committee for its action. In addition, as Director of Judicial Affairs, Fiacco

   helped develop policy statements regarding the student code of conduct for the

   University. Prior to his employment at the University of Maine, Fiacco served as a




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   Judicial Affairs Counselor at Syracuse University and as the Director of Public Safety at

   Fort Lewis College in Durango, Colorado.

           Defendant SAE is a national fraternity, incorporated in Illinois.                     There are

   approximately 210 local chapters of Sigma Alpha Epsilon. The local chapter of SAE at

   the University of Maine in Orono is known as Maine Alpha. 1

           In addition to the national fraternity and local chapter, several individuals played

   a prominent role in the events that underlie this litigation. Jay Sexton is an alumnus of

   the University of Maine and the Maine Alpha chapter of SAE and was the Province

   Deputy Archon during the relevant time period. 2 James Dill was a faculty advisor to the

   Maine Alpha chapter of SAE, and Gregory Jamison was a volunteer advisor to the Maine

   Alpha chapter of SAE. Joseph Irace was the President of SAE’s Maine Alpha chapter

   from spring 2001 through spring 2002. Anthony Nowak took over as President in the

   spring of 2002.

           In the spring of 2002, the Maine Alpha chapter of SAE was being prosecuted for

   violations of the student code of conduct at the University. Fiacco, as the Director of

   Judicial Affairs, was in charge of investigating and processing the allegations on behalf

   of the University. Attorney N. Laurence Willey, Jr. was retained to aid in the defense of

   Maine Alpha. Willey, in turn, retained a private investigator, Victor Kraft, to look into

   Fiacco’s background. While it is unclear who instructed Kraft or exactly how he was

   instructed, a small group, consisting of Sexton, Dill, Irace, Jamison and Nowak, met with



   1
     The local chapters of Sigma Alpha Epsilon are organized by the national fraternity into geographic areas
   called provinces. There are thirty provinces, which are divided into eight regions. The Alpha province of
   Sigma Alpha Epsilon consists of Rhode Island, Connecticut, Massachusetts, Vermont, New Hampshire and
   Maine.
   2
     The Province Deputy Archon is elected by the local chapters, the alumni associations, and prior province
   archons in a given province.


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   Kraft and Wiley in the spring of 2002. Private Investigator Kraft then gathered the

   various documents.

              These documents consisted of publicly available court documents and newspaper

   articles. The first set of court documents detail Weaver v. Fiacco, a legal proceeding that

   occurred in Colorado.            Through this proceeding, Kelly Weaver, Fiacco’s former

   girlfriend, sought and obtained a temporary and then a permanent restraining order

   against David Fiacco pursuant to the Colorado Domestic Abuse Act, §14-4-101 et seq.3

   The second set of court documents and two newspaper articles discuss Fiacco’s

   conviction of Driving While Ability Impaired (DWAI), where he had a blood alcohol

   content of .089 percent. Two additional newspaper articles reveal Fiacco’s dismissal

   from his employment as director of public safety at Fort Lewis College in Colorado.

              These documents were provided to Sexton, Dill, Irace, Jamison and Nowak. 4 The

   group then decided to distribute the documents to select individuals and newspapers

   within the University of Maine community. The group collaborated to draft a cover

   memorandum, which read:

              Enclosed please find newspaper articles and court documents detailing Mr.
              Fiacco’s previous legal difficulties: DWI, Sexual Harassment, and
              Domestic Violence. Is this honestly the best qualified candidate that the
              University of Maine could find for the Office of Judicial Affairs?

   (emphasis in original). The documents were placed behind the memorandum and into

   plain manila envelopes, bearing no return address. The envelopes were then placed in a

   box and sent to an alumnus of Maine Alpha in Colorado. The alumnus then placed the

   envelopes in the mail to be sent to multiple recipients in the Maine. Peter S. Hoff, then-

   President of the University of Maine, the Board of Trustees of the University of Maine

   3
       The issuance of the permanent restraining order was overturned on appeal.
   4
       While the documents were made available to SAE, it is unclear exactly when that occurred.


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   System, Dean Dwight Rideout, the Bangor Daily News and the Maine Campus all

   received a manila envelope containing the memorandum and documents. At the time the

   memorandum and documents were sent, proceedings continued against Maine Alpha, but

   Fiacco had been recused from participating in the proceedings.

          Before the dissemination of the memorandum and documents, Fiacco had been a

   social person who enjoyed spending time with his family and friends. After Fiacco

   learned of the dissemination, he preferred to be alone, avoiding family and friends, and

   he became depressed. Fiacco’s feelings of confidence and self worth were affected as he

   constantly expected that the information contained in the memorandum and documents

   would be raised at his work. The stress began to affect Fiacco’s work performance, and

   he began taking time off of work. He also had difficulty with insomnia, nightmares and

   teeth-grinding. Fiacco ultimately sought professional psychological counseling. Both

   Dr. Peter Ippoliti and Dr. Polly Moutevelis-Burgess, treating psychologists, believed

   Fiacco experienced significant stress that required ongoing treatment.       Nonetheless,

   Fiacco remains in his position as the Director of Judicial Affairs at the University of

   Maine in Orono.

          On September 15, 2005, Plaintiff David Fiacco filed a five count complaint

   naming SAE as Defendant (Docket # 1). The complaint asserts causes of action for

   intentional infliction of emotional distress (Count I), civil conspiracy (Count II), prima

   facie tort (Count III), negligent infliction of emotional distress (Count IV) and punitive

   damages (Count V). On October 12, 2006, SAE moved for summary judgment on all

   counts (Docket # 54).     On January 19, 2007, the Court issued an order requesting

   additional briefing on the question of whether the First Amendment precludes recovery




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   on the claim of intentional infliction of emotional distress (Docket # 86). After receiving

   this briefing, the Court heard oral argument on March 23, 2007 (Docket # 96). With the

   benefit of the additional briefing, extensive discovery and oral argument, the Court now

   considers the Motion for Summary Judgment.

   II.      STANDARD OF REVIEW

            Generally, a party is entitled to summary judgment if, on the record before the

   Court, it appears “that there is no genuine issue as to any material fact and that the

   moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). An issue

   is “genuine” if “the evidence is such that a reasonable jury could return a verdict for the

   nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A

   “material fact” is one that has “the potential to affect the outcome of the suit under the

   applicable law.”    Nereida-Gonzalez v. Tirado-Delgado, 990 F.2d 701, 703 (1st Cir.

   1993).

            The party moving for summary judgment must demonstrate an absence of

   evidence to support the nonmoving party’s case. Celotex Corp. v. Catrett, 477 U.S. 317,

   325 (1986). In determining whether this burden is met, the Court must view the record in

   the light most favorable to the nonmoving party and give that party the benefit of all

   reasonable inferences in its favor. Santoni v. Potter, 369 F.3d 594, 598 (1st Cir. 2004).

   Once the moving party has made a preliminary showing that no genuine issue of material

   fact exists, the nonmoving party must “produce specific facts, in suitable evidentiary

   form, to establish the presence of a trialworthy issue.” Triangle Trading Co. v. Robroy

   Indus., Inc., 200 F.3d 1, 2 (1st Cir. 1999) (citation and internal punctuation omitted); Fed.

   R. Civ. P. 56(e).    "As to any essential factual element of its claim on which the




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   nonmovant would bear the burden of proof at trial, its failure to come forward with

   sufficient evidence to generate a trialworthy issue warrants summary judgment to the

   moving party." In re Spigel, 260 F.3d 27, 31 (1st Cir. 2001) (citation and internal

   punctuation omitted).

   III.       DISCUSSION

              Initially, the Court pauses to note a pervasive legal question in this litigation:

   whether the relationship between SAE and Maine Alpha and/or any one of the

   individuals involved is sufficient to establish an agency relationship and thus render SAE

   liable for the acts of an individual or group of individuals. See, e.g., Peoples Heritage

   Savings Bank v. Pease, 797 A.2d 1270, 1275-76 (Me. 2002).                For purposes of the

   pending Motion, the Court assumes without deciding that a sufficient agency relationship

   exists to render SAE liable for the acts of the individuals involved. With this assumption

   in place, the Court proceeds to consider each of Plaintiff’s five claims.

   A.         Intentional Infliction of Emotional Distress

              Plaintiff’s first count asserts a claim for intentional infliction of emotional

   distress.      Under Maine law, 5 in order to establish a claim for intentional infliction of

   emotional distress, the plaintiff must present facts to establish the following four

   elements:

              (1) the defendant intentionally or recklessly inflicted severe emotional
              distress or was certain or substantially certain that such distress would
              result from [their] conduct; (2) the conduct was “so extreme and
              outrageous as to exceed all possible bounds of decency and must be
              regarded as atrocious, utterly intolerable in a civilized community;” (3) the
              actions of the defendant caused plaintiff’s emotional distress; and (4) the
              emotional distress suffered by the plaintiff was “so severe that no
              reasonable person could be expected to endure it.”


   5
       The parties agree that Maine law controls in this case.


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   Curtis v. Porter, 784 A.2d 18, 22-23 (Me. 2001) (quoting Champagne v. Mid-Maine

   Medical Ctr., 711 A.2d 842, 847 (Me. 1998)). Before deciding whether any genuine

   issues of material fact exist with respect to these elements, the Court considers the

   applicability of the protections of the First Amendment to this case.

          Generally, state courts are free to define the contours of common law torts, such

   as intentional infliction of emotional distress. Nonetheless, the Court is obligated to

   consider potential limitations on common law causes of action that may conflict with the

   First Amendment of the Constitution. The Supreme Court has recognized that speech on

   matters of public concern, including speech involving individuals in the public eye, must

   be protected from causes of action that could chill speech. See, e.g., Hustler Magazine v.

   Falwell, 485 U.S. 46, 56 (1988) (requiring that actual malice be proved by public officials

   and public figures to recover for the tort of intentional infliction of emotional distress);

   New York Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964) (“The constitutional

   guarantees require, we think, a federal rule that prohibits a public official from recovering

   damages for a defamatory falsehood relating to his official conduct unless he proves that

   the statement was made with ‘actual malice’ – that is, with knowledge that it was false or

   with reckless disregard of whether it was false or not.”).

          Thus, where a public official or public figure is the plaintiff in a case seeking

   damages for intentional infliction of emotional distress, the Supreme Court has stated:

          “Outrageousness” in the area of political and social discourse has an
          inherent subjectiveness about it which would allow a jury to impose
          liability on the basis of the jurors’ tastes or views, or perhaps on the basis
          of their dislike of a particular expression. An “outrageousness” standard
          thus runs afoul of our long standing refusal to allow damages to be
          awarded because the speech in question may have an adverse emotional
          impact on the audience.




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   Hustler Magazine, 485 U.S. at 55.        As a result, in addition to the common law

   requirements for intentional infliction of emotional distress, a public official or public

   figure “may not recover for the tort of intentional infliction of emotional distress by

   reason of publications . . . without showing in addition that the publication contains a

   false statement of fact which was made with ‘actual malice,’ i.e., with knowledge that the

   statement was false or with reckless disregard as to whether or not it was true.” Id. at 56.

   This application of the New York Times standard is “necessary to give adequate

   ‘breathing space’ to the freedoms protected by the First Amendment.” Id.; see also New

   York Times Co., 376 U.S. at 279-80.

          Therefore, the first task for the Court is to determine whether Fiacco is a public

   official or public figure. See Rosenblatt v. Baer, 383 U.S. 75, 88 (1966) (stating that “it

   is for the trial judge in the first instance to determine whether the proofs show respondent

   to be a ‘public official’”); Norris v. Bangor Publ’g Co., 53 F. Supp. 2d 495, 502 (D. Me.

   1999). Whether an individual is a public official or a public figure is necessarily a

   detailed, fact specific determination. Mandel v. Boston Phoenix, Inc., 456 F.3d 198, 204

   (1st Cir. 2006). Nonetheless, because a plaintiff’s status controls whether he or she must

   prove actual malice, it is reasonable to attempt to determine the status through pretrial

   proceedings. Id. This public official/public figure inq uiry focuses on the period of time

   prior to the publication of the statements in question. Norris, 53 F. Supp. 2d at 503.

          i.       Public Official

          Not every public employee is a “public official” for First Amendment purposes,

   Mandel, 456 F.3d at 202, but the designation applies “at the very least to those among the

   hierarchy of government employees who have, or appear to the public to have, substantial




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   responsibility for or control over the conduct of governmental affairs.” Rosenblatt, 383

   U.S. at 85. The First Circuit has developed three factors for courts to consider when

   determining how far down the bureaucratic ladder the designation of public official

   applies. See Kassel v. Gannett Co., 875 F.2d 935, 939-40 (1st Cir. 1989) (referring to the

   three cons iderations as a “Three-Legged Stool”). Thus, courts must evaluate: “(i) the

   extent to which the inherent attributes of a position define it as one of influence over

   issues of public importance; (ii) the position’s special access to the media as a means of

   self-help; and (iii) the risk of diminished privacy upon taking the position.” Mandel, 456

   F.3d at 204.

          The first factor recognizes that there is “a strong interest in debate about those

   persons who are in a position significantly to influence the resolution of [public] issues.”

   Rosenblatt, 383 U.S. at 85.       While policymakers, upper-level administrators and

   supervisors may be included as public officials, those whose “government posts entail[]

   no particular responsibility for governance are likely to slip between the strands.”

   Kassel, 875 F.2d at 939. The underlying rationale is that “such plenipotentiaries occupy

   niches of ‘apparent importance’ sufficient to give the public ‘an independent interest in

   the qualifications and performances [sic] of the person[s] who hold[] [them], beyond the

   general public interest in the qualifications and performance of all government

   employees.’” Id. (quoting Rosenblatt, 383 U.S. at 86).

          In determining whether Fiacco occupied a position of influence over issues of

   public importance, the Court must focus on the inherent attributes of the position. Id.

   Fiacco was the Director of Judicial Affairs at the University of Maine in Orono. Through

   this position, Fiacco was in charge of investigating and processing allegations of




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    violations of the student code of conduct on behalf of the University. He had the ability

    to adjudicate cases personally and to issue disciplinary sanctions.

           In Levinsky’s Inc., v. Wal-Mart Stores, Inc., the First Circuit discussed what

    qualifies as a matter of public concern in the context of the Constitutional prohibition on

    presumed or punitive damages absent actual malice:

           The Supreme Court has roughly bisected the sphere of social commentary
           between matters of public concern, which are those that can be “fairly
           considered as relating to any matter of political, social, or other concern to
           the community,” and matters of private concern, which are those that
           address “matters only of personal interest.” . . . [T]he relevant community
           need not be very large and the relevant concern need not be of paramount
           importance or national scope. Rather, “it is sufficient that the speech
           concern matters in which even a relatively small segment of the gene ral
           public might be interested.”

    Levinsky’s, Inc. v. Wal-Mart Stores, 127 F.3d 122, 132 (1st Cir. 1997) (internal citations

    omitted). As the Director of Judicial Affairs, Fiacco drafted policies regarding student

    conduct for the University, which included the parental notification policy, the protocol

    for notification of university personnel and the guide to standard sanctions.           In the

    community of the University of Maine at Orono, the Director of Judicial Affairs wields

    significant power and influence over the policies that delineate appropriate behavior and

    the consequences for violation of the code of conduct. Thus, student conduct and the

    person responsible for administration of the student code of conduct are important to the

    University community.

           In countering that he is a public official, Fiacco asserts that he was supervised by

    a Dean of the University and that his decisions could be appealed to a committee.

    Nonetheless, the record before the Court shows that Fiacco’s decisions were final in all

    but a small minority of cases.      In 2001, “Fiacco estimated there were about 1000




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    violations of the code last year. Only twelve appeals went before the Student Conduct

    Code Committee.” Aimee Dolloff, Students Held to Higher Standard: Conduct Code,

    Judicial Affairs Judge Students’ Actions, Maine Campus, Nov. 5, 2001 (Docket # 89-6).6

    As the Director of Student Judicial Affairs, Fiacco was charged with enforcing the code

    of conduct and possessed discretion in executing this charge. 7

             Similarly, in Grossman v. Smart, a federal district court deemed the Vice

    Chancellor for Research and for Graduate College and assistant to the Chancellor of the

    University a public official while noting that this plaintiff was also the Hearing Officer in

    an administrative grievance hearing. Grossman v. Smart, 807 F. Supp. 1404, 1408 (C.D.

    Ill. 1992). Here Fiacco possessed discretion, influence and power in the community of

    the University of Maine at Orono. 8 Furthermore, the feedback Fiacco received from his

    supervisor specifically recognized him as an administrator and leader in the community.

    Given the influence Fiacco possessed as the Director of Judicial Affairs, the position was

    one where “the public has an independent interest in the qualifications and performance

    of the person who holds it, beyond the general public interest in the qualifications and

    performance of all government employees . . . .” Rosenblatt, 383 U.S. at 86. Therefore,

    the first factor tends to support a finding that Fiacco is a public official.


    6
      A slightly different calculation was provided in 2002. “Each year Fiacco’s office handles about 700
    cases. Last year, 18 went to the conduct committee either because of their complicated nature or because
    they were appealed by student defendants.” Ruth-Ellen Cohen, Football Suspensions Put UM Panel in
    Spotlight, Bangor Daily News, Oct. 7, 2002 (Docket # 89-13).
    7
       In Gomes v. University of Maine System, this Court found that Fiacco was immune from personal
    liability because he had performed a discretionary function or duty under 14 M.R.S.A. § 8111(1)(C).
    Gomes v. Univ. of Maine Sys., 365 F. Supp. 2d 6, 42 (D. Me. 2005). Specifically, the Court stated:
    “Investigating a student disciplinary complaint, conducting a disciplinary hearing, and issuing a decision
    would seem by the nature of the activity not to be ministerial duties, to require the exercise of discretion,
    and to be within the scope of the official's legal authorization.” Id.
    8
      This case stands in contrast to the position of Veteran’s Affairs Staff Psychologist considered in Kassel v.
    Gannett Co., where the First Circuit stated: “He (the plaintiff) did not routinely supervise, manage, or direct
    government operations. He did not formulate policy. He did not govern; Kassel was a clinician whose
    work, by and large, was confined to seeing patients and administering tests.” Kassel, 875 F.2d at 940.


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           Second, the Court must consider “the position’s special access to the media as a

    means of self- help.” Mandel, 456 F.3d at 204. The First Circuit has recognized that

    “[t]hose who hold public office are frequently able to defend themselves in the media.

    That ability is tantamount to the ability to engage in self- help.” Kassel, 875 F.2d at 939;

    see also Gertz v. Robert Welch, Inc., 418 U.S. 323, 344 (1974). Because public officials

    have a greater ability to counteract any negative publicity, the state has a correspondingly

    diminished interest in protecting the individual.     See Kassel, 875 F.2d at 940.       In

    considering whether Fiacco maintained access to the media, bootstrapping is not

    permitted: media access as a result of this litigation will not suffice to make Fiacco a

    public official. See id. at 941. Thus, the Court limits its consideration to media exposure

    that occurred at the time of or prior to the publication of the memorandum and documents

    in question.

           In the span of ten months, from October of 2001 through August of 2002, Fiacco

    appeared in the Maine Campus five separate times, all in relation to his position as

    Director of Judicial Affairs. It is unclear whether he contacted the newspaper or the

    newspaper contacted him with regard to these articles. Nonetheless, it is clear from this

    recurrent exposure that his position entailed contact with the media, frequently to explain

    the functions of his office and the sanctions imposed on members of the community. An

    article from November 5, 2001 states:

           Fiacco said all students are treated equally under the code – athletes,
           members of the Greek community and other prominent students and
           organizations on campus – are all under the same jurisdiction and rules as
           everyone else.

    Aimee Dolloff, Students Held to Higher Standard: Conduct Code, Judicial Affairs Judge

    Students’ Actions, Maine Campus, Nov. 5, 2001 (Docket # 89-6). In addition, it is



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    apparent that the nature of Fiacco’s office included a public advocacy and educational

    component.      See, e.g., Julia Hall, Greek Life Faces Challenges, Sanctions, Maine

    Campus, May 9, 2002, (Docket # 89-8) (“According to Fiacco, the sanctions are designed

    to be educational and to help the organizations learn from their mistakes and prosper. He

    said Judicial Affairs is not ‘out to get’ the Greek community, the sanctions were imposed

    to help them modify their procedures and protocols within the house to reduce the risk to

    the organizations.”).

            In short, as the Director of Judicial Affairs, Fiacco’s position entailed access to

    the media. 9 The Court finds Fiacco’s assertion that he did not reach out to the media, and

    thus could not avail himself of self- help unpersuasive. Although Fiacco chose not to

    reach out to the media, that does not necessarily mean that he did not have the requisite

    access to the media. Given Fiacco’s frequent appearance in the Maine Campus, he was

    in a position to avail himself of self- help through the media if he chose.

            The final factor in determining whether Fiacco is a public official is “the risk of

    diminished privacy assumed upon taking the position.” Mandel, 456 F.3d at 204. This

    final consideration acknowledges that “[p]ersons who actively seek positions of influence

    in public life do so with the knowledge that, if successful in attaining their goals,

    diminished privacy will result.” Kassel, 875 F.2d at 940. Although not the classic case

    of the aspirant to elective office, Fiacco voluntarily assumed a position with inherent

    importance over issues of concern to the university community and broad exposure to

    that community. Fiacco’s position entailed interaction with the media and outreach to the


    9
      Fiacco’s access to the media also distinguishes him from the plaintiff in Kassel where the First Circuit
    found that: “[Kassel’s] position commanded no extraordinary media exposure. His duties did not involve
    answering press inquiries; quite to the contrary, the VA employed its own media liaison person.” Kassel,
    875 F.2d at 941.


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    community.       As the Director of Judicial Affairs charged with promulgating policy,

    investigating allegations, conducting hearings, and issuing disciplinary sanctions,

    Fiacco’s position was “one which would invite public scrutiny and discussion of the

    person holding it, entirely apart from the scrutiny and discussion occasioned by the

    particular charges in controversy.” Rosenblatt, 383 U.S. at 86 n.13. In short, he was

    frequently and actively in the public eye at the University of Maine in Orono.

            From the ample record before the Court, Fiacco qualifies as a public official. The

    Director of Judicial Affairs, who has the ability to investigate, adjudicate and sanction

    students and organizations and promulgate policies, possesses a position of influence

    over issues of public importance. The position requires and entails access to the media.

    Thus, the First Amendment guards discussion of the person holding the position.

    Therefore, the Court finds that in order to recover for intentional infliction of emotional

    distress, Fiacco must show that false statements of fact were made with “actual malice.”

    See Hustler Magazine, 485 U.S. at 56.

            ii.      Public Figure

            Even if the Court found that Fiacco were not a pub lic official, the Court would

    nonetheless find that he is a limited-purpose public figure. Individuals generally become

    public figures in one of two ways:10 “(1) when persons ‘assume[] roles of especial [sic]

    prominence in the affairs of society,’ perhaps by occupying positions of ‘persuasive

    power and influence,’ or (2) when persons ‘thrust themselves to the forefront of particular

    public controversies in order to influence the resolution of the issues involved.’”

    Pendleton v. City of Haverhill, 156 F.3d 57, 67 (1st Cir. 1998) (quoting Gertz, 418 U.S.


    10
       An individual can also become a public figure “through no purposeful action” of his or her own, “but the
    instances of truly involuntary public figures must be exceedingly rare.” Gertz, 418 U.S. at 345.


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    at 345). In addition, a person can be classified as either a public figure for all purposes or

    “only for a limited range of issues.”11 Gertz, 418 U.S. at 351. Where an individual

    plaintiff falls on this scale is determined “by looking to the nature and extent of an

    individual’s participation in the particular controversy.” Id. at 352.

            In determining whether an individual qualifies as a public figure, courts generally

    engage in a three step analysis, which is necessarily fact-bound. See e.g., Pendleton, 156

    F.3d at 68-70; Norris, 53 F. Supp. 2d at 503-05. First, the Court must evaluate whether a

    public controversy existed prior to the publication. Bruno & Stillman, Inc. v. Globe

    Newspaper Co., 633 F.2d 583, 590 (1st Cir. 1980); Norris, 53 F. Supp. 2d at 503. This

    Court has previously established three maxims with regard to what qualifies as a public

    controversy: “purely private disputes do not give rise to public controversies, the

    implications of the controversy in question must affect the public and not merely the

    litigants, and the public importance of the issues involved must be considered.” Norris,

    53 F. Supp. 2d at 503.

            In Pendleton v. City of Haverhill, a preexisting public controversy existed where a

    newspaper article detailed the growing concern among public school students that racial

    minorities were underrepresented among public school teachers. Pendleton, 156 F.3d at

    60, 68-69. Similarly, in this case, the newspaper articles on the record before the Court

    evidence that a public controversy existed regarding the disciplinary process at the

    University of Maine in Orono prior to the fall of 2002. Arguably, individual disciplinary

    proceedings are private, as they involve the conduct officer and the student or

    organization. Nonetheless, “[t]he mere fact that the immediate proceeding is between


    11
      There is no claim that Fiacco is a public figure for all purposes. The Court thus proceeds to determine
    whether Fiacco is a limited-purpose public figure.


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    private individuals, however, does not guarantee that there could be no public

    controversy.” Bruno & Stillman, Inc., 633 F.2d at 590. During this time period, Maine

    Alpha was involved in the Judicial Affairs process, but the debate encompassed more

    than SAE: it involved other fraternities, students and the University of Maine community

    at large.   Articles from the Maine Campus demonstrate that the student disciplinary

    process at the University had become a matter of public concern. See, e.g., Aimee

    Dolloff, Students Held to Higher Standard: Conduct Code, Judicial Affairs Judge

    Students’ Actions, Maine Campus, Nov. 5, 2001 (Docket # 89-6); Aimee Dolloff, Sigma

    Nu Fraternity Faces Sanctions: Past, Recent Student Conduct Code Violations

    Prosecuted, Maine Campus, April 18, 2002, (Docket # 89-7); Julia Hall, Greek Life Faces

    Challenges, Sanctions, Maine Campus, May 9, 2002 (Docket # 89-8); Aimee Dolloff,

    Judicial Affairs Clarifies Consequences, Maine Campus, Sept. 23, 2002 (Docket # 89-

    10).

            Next, the Court must consider whether Fiacco voluntarily injected himself into the

    controversy.    This requires looking “to the nature and extent of [the plaintiff’s]

    participation in the particular controversy . . . .” Bruno, 633 F.2d at 591 (quoting Gertz,

    418 U.S. at 352). Here, Plaintiff asserts that he did not voluntarily inject himself into the

    controversy. Rather, assuming that a controversy exists, “Plaintiff would have been

    involuntarily involved by virtue of his employment position. . . . It was his job to be

    involved in student disciplinary issues; he did not voluntarily thrust himself into a

    controversy to influence the outcome.”        (Pl.’s Br. in Resp. to the Court’s Order

    Requesting Additional Briefing (Docket # 90) at 11-12). This argument misconstrues the

    “voluntariness” requirement.




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            In Lohrenz v. Do nnelly, a public controversy existed about the appropriateness of

    women serving in combat roles in the United States military. Lohrenz v. Donnelly, 350

    F.3d 1272, 1275 (D.C. Cir. 2003). After completing the appropriate training, Lt. Carey

    Dunai Lohrenz became one of the first women to pilot armed forces combat aircraft. Id.

    at 1274-75. The Court of Appeals for the District of Columbia found that she voluntarily

    injected herself into the controversy by choosing combat aircraft, assuming the risk of a

    combat assignment and then becoming one of two American women combat pilots. Id. at

    1282.

            Once she "chose...combat aviation" by indicating her preference for the F-
            14 while knowing of the preexisting public controversy over the
            appropriateness of women in combat positions, Lt. Lohrenz assumed the
            risk that if she succeeded in qualifying for a combat assignment and the
            Navy made such an assignment, she would find herself at the center of the
            controversy as a result of the special prominence that she and only one
            other woman combat pilot attained upon receiving their F-14 assignments.

    Id. at 1280. Similarly, in Norris v. Bangor Publishing Co., where a political consultant

    claimed defamation, this Court stated: “Plaintiff voluntarily accepted a job researching a

    candidate for national office on behalf of a national political organization. He cannot be

    described as an ‘unwilling[]’ participant . . . .” Norris, 53 F. Supp. 2d at 504. Even

    though Fiacco may not desire to be a public figure, he voluntarily accepted the position of

    Director of Judicial Affairs. The nature of the position thrust Fiacco into the public

    controversy surrounding the student disciplinary process.       As with the plaintiffs in

    Lohrenz v. Donnelly and Norris v. Bangor Publishing Co., Fiacco injected himself into

    the public controversy by accepting a position at the center of the controversy.

            As with “public official” analysis, an additional consideration for the Court is

    whether Plaintiff had greater access to the media as a means of self- help. “Public




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    officials and public figures usually enjoy significantly greater access to the channels of

    effective communication and hence have a more realistic opportunity to counteract false

    statements than private individuals normally enjoy.”                   Gertz, 418 U.S. at 344.            In

    Pendleton v. City of Haverhill, Pendleton had the requisite access to the media “as

    evidenced by the fact that his arrest on cocaine charges made the front page of both the

    Gazette and the Eagle-Tribute well prior to the uproar over his exoneration. ” Pendleton,

    156 F.3d at 70. Thus, even though Fiacco may not have availed himself of self- help via

    the media, his prior exposure and numerous appearances in the Maine Campus

    demonstrate that he had the requisite access to the media to qualify as a limited-purpose

    public figure. Therefore, the Court alternatively finds that Plaintiff Fiacco qualifies as a

    limited-purpose public figure and is required to prove that false statements of fact were

    made with actual malice in order to recover for intentional infliction of emotional

    distress.

             iii.     False Statement of Fact

             As a public official or limited purpose public figure, Fiacco must first establish

    that the statements within the transmittal contained a false statement of fact in order to

    recover for intentional infliction of emotional distress. 12 Hustler Magazine, 485 U.S. at

    56. The “false statement of fact” requirement contains two components: (1) the statement

    must be an assertion of fact, and (2) the statement of fact must be false.

             Generally, statements of opinion are not actionable.                  “[O]nly statements that

    present or imply the existence of facts that can be proven true or false are actionable . . .

    .” Gray v. St. Martin’s Press Inc., 221 F.3d 243, 248 (1st Cir. 2000); see also Levinsky’s,


    12
       Although Fiacco initially asserted that there were false statements in the documents, he no longer pursues
    that claim.


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    127 F.3d at 130 (stating that “[t]he vaguer a term, or the more meanings it can reasonably

    convey, the less likely it is to be actionable.”). In Levinsky’s, Inc. v. Wal-Mart Stores,

    Inc., the manager of a Wal-Mart’s store described a competitor’s store as “trashy.”

    Levinsky’s Inc., 127 F.3d at 125-26. The First Circuit declined to allow liability for

    defamation to rest on that statement, asserting: “The word ‘trashy’ is a chameleon that

    continuously changes colors and shades of meaning.                 It admits of numerous

    interpretations. We can imagine no objective evidence that might conclusively prove or

    disprove it.” Id. at 130. Further, whether a statement is labeled as verifiable fact or as

    opinion is a matter of law for the court. Gray, 221 F.3d at 248.

            The first sentence of the cover memorandum undeniably asserts three objectively

    verifiable statements: (1) Fiacco has had legal difficulty with DWI; (2) Fiacco has had

    legal difficulty with sexual harassment; and (3) Fiacco has had legal difficulty with

    domestic violence.      Conversely, the question: “Is this honestly the best qualified

    candidate that the University of Maine could find for the Office of Judicial Affairs?” is an

    opinion that cannot be verified. The term “best,” like the term “trashy,” is subject to

    numerous meanings and qualifications.       The Court is unable to discern the precise

    meaning of the question and therefore cannot begin to determine whether it is true or

    false. Thus, liability will not lie based upon the question. Rather, the Court limits its

    analysis to the assertions of fact found in the first sentence. This requires the Court to

    first elucidate the concept of falsity.

            Minor inaccuracies and small alterations will not render a statement false. See

    Masson v. New Yorker Magazine Inc., 501 U.S. 496, 517 (1991) (stating that “[m]inor

    inaccuracies do not amount to falsity so long as the substance, the gist, the sting, of the




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    libelous charge be justified.” (internal quotations omitted)). Rather, a “statement is not

    considered false unless it would have a different effect on the mind of the reader from

    that which the pleaded truth would have produced." Id. (internal quotations and citations

    omitted). It is immaterial whether the minor inaccuracies are deliberate; the statement is

    not false so long as there is no “material change in the meaning conveyed by the

    statement.” Mangual v. Rotger-Sabat, 317 F.3d 45, 68 (1st Cir. 2003).

           The first statement of fact in the memorandum asserts that Fiacco has had past

    legal difficulties with DWI.     Although the memorandum does not state what DWI

    abbreviates, the logical inference is “Driving While Intoxicated.” Fiacco claims that he

    has never been convicted of “Driving While Intoxicated” and the statement is therefore

    false. Fiacco was, however, charged and convicted of Driving While Ability Impaired

    while he had a blood alcohol level of .089 percent. By way of illustration only, in Maine

    a person is guilty of Operating Under the Influence when he or she has a blood alcohol

    content of .08 percent or if his or her mental or physical faculties are impaired to any

    extent. 29 M.R.S.A. § 2411; see also Maine v. Bradley, 658 A.2d 236, 237 (Me. 1995).

    The memorandum may have contained the minor inaccuracy of mislabeling the offense,

    but the underlying gist is the same: a person drove a vehicle with a prohibitively high

    level of alcohol in his or her system. Therefore, the Court finds that the first assertion is

    substantially true and cannot serve as a basis for liability. Furthermore, the Court finds it

    significant that included with the memorandum were numerous documents that detailed

    the offense of which Fiacco was found guilty. The inclusion of these documents allowed




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    the reader to make an independent determination of the truth or falsity of the assertions in

    the memorandum. 13

             Second, the memorandum asserts that Fiacco has had past legal difficulties with

    sexual harassment. During the course of extensive discovery, Fiacco acknowledged that

    he had been involved with a sexual harassment complaint, presumably during his prior

    employment in Colorado. 14 In addition, Fiacco admitted that he handed Kelly Weaver, a

    former girlfriend whom he worked, the book The Gift of Fear 15 and also violated work

    place restrictions placed upon him. Fiacco has also stated that “the nature of [papers he

    placed on Weaver’s desk] might indicate possibilities of harassment in the workplace . . .

    .” (Docket # 60 at 25). Without deciding, the Court notes a reasonable person could

    conclude that Fiacco’s actions created a hostile work environment. See, e.g., Gorski v.

    New Hampshire Dep’t of Corrs., 290 F.3d 466, 472 (1st Cir. 2002). Thus, the record

    before the court reflects that Fiacco has had past legal difficulties with sexual harassment,

    and the statement, therefore, was not false and cannot serve as the basis for liability.

             The final assertion of fact in the memorandum claims that Fiacco has had past

    legal difficulties with domestic violence. Fiacco claims that he “has never been accused

    or convicted of ‘domestic violence,’ commonly defined as taking violent or physical

    actions toward another person who is a member of his ho usehold.” (Pl.’s Br. in Resp. to

    the Court’s Order Requesting Additional Briefing (Docket # 90) at 13). Nonetheless,

    13
       Included with the memorandum were court documents detailing Fiacco’s change of plea to guilty for
    Driving While Ability Impaired. (Docket # 60 at 29-36). In addition, there is a memorandum from the
    Probation Department informing the Court of La Plata County, Colorado that Fiacco had fulfilled the
    requirements for a deferred judgment. (Docket # 60 at 30).
    14
       During the course of his deposition, Fiacco stated: “I explained that I had been charged for DWAI in
    [the] state of Colorado. I explained what the resolution was. I also explained the circumstances regarding
    the sexual harassment complaint, and, yeah, that’s essentially it.” Fiacco Dep. 28:13-29:4. (Docket # 84-2
    at 7 & Docket # 56-2 at 4).
    15
       The book, The Gift of Fear, describes violent acts, how to recognize signals and avoid potentially violent
    situations. (Docket # 60 at 24). Weaver described the book as “a stalking book.” (Id. at 66).


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    Fiacco admits that he was the defendant in Weaver v. Fiacco and was subject to a

    temporary restraining order pursuant to the Colorado Domestic Abuse Act, §14-4-101 et

    seq. While the issuance of the permanent restraining order was overturned on appeal, the

    Court considering the appeal found that there was evidence to support the conclusion that

    the Defendant, Fiacco, had committed an act of domestic abuse. (Docket # 60 at 9).

            Furthermore, the Court notes that domestic violence encompasses more than

    “physical” violence towards a member of the household. For example, Maine defines

    “abuse” as including “[a]ttempting to place or placing another in fear of bodily injury

    through any course of conduct, including, but not limited to, threatening, ha rassing or

    tormenting behavior,” 19 M.R.S.A. § 4002(1), and “family or household members”

    includes former domestic partners who no longer reside together, Id. § 4002(4). Given

    that Fiacco was subject to a temporary restraining order pursuant to Colorado’s Domestic

    Abuse Act, the assertion that he has had legal difficulties with domestic violence is not

    false. The Court is therefore left with no false statements of fact on which to base

    liability for intentional infliction of emotional distress. Even if the Court found false

    statements of fact, there is no evidence of actual malice. 16

            No genuine issues of material fact survive with regard to the claim for intentional

    infliction of emotional distress. Fiacco has failed to “produce specific facts, in suitable

    evidentiary form, to establish the presence of a trialworthy issue” sufficient to overcome

    the heightened standards for intentional infliction of emotional distress imposed by

    Hustler Magazine v. Falwell, 485 U.S. 46 (1986). See Triangle Trading Co., 200 F.3d at

    2 (citation and internal punctuation omitted). The Court is satisfied on the record before


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      Indeed, when private investigator Kraft compiled the documents, he spoke with individuals mentioned in
    the newspaper articles to determine the accuracy of the facts within the articles.


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    it that the First Amendment and Hustler Magazine v. Falwell, 485 U.S. 46 (1988),

    preclude recovery. 17

             Even if the First Amendment did not prevent recovery on this cause of action, the

    dissemination of truthful, publicly available documents is not sufficiently outrageous to

    permit recovery. In order to recover for intentional infliction of emotional distress, the

    conduct must have been “so extreme and outrageous as to exceed all possible bounds of

    decency and must be regarded as atrocious, utterly intolerable in a civilized community.”

    Champagne, 711 A.2d at 847. Further, “it is for the court to determine in the first

    instance whether the defendant's conduct may reasonably be regarded as so extreme and

    outrageous to permit recovery, or whether it is necessarily so.” Id. Here, the anonymous

    publication of a memorandum and documents to various members of the community may

    have been a callous, insensitive and juvenile course of conduct, but the jury could not

    find that it was “so extreme and outrageous as to exceed all possible bounds of decency

    in a civilized community.” Id. Therefore, the Court GRANTS summary judgment in

    favor of Defendant SAE on the claim of intentional infliction of emotional distress.

    B.       Civil Conspiracy

             Turning to Count II, Fiacco asserts a claim for civil conspiracy. Generally, civil

    conspiracy is not an independent tort in Maine. 18 Cohen v. Bowdoin, 288 A.2d 106, 110


    17
       The Court notes the disconnect in imposing the standards for defamation on a case for intentional
    infliction of emotional distress. As Justice White said in his concurrence: “As I see it, the decision in New
    York Times v. Sullivan, 376 U. S. 254 (1964), has little to do with this case. . . . But I agree with the Court
    that the judgment below, which penalized the publication of the parody, cannot be squared with the First
    Amendment.” Hustler Magazine, 485 U.S. at 57 (White, J., concurring).
    18
       In Cohen v. Bowdoin, the Law Court recognized that

             in particular extraordinary circumstances there has been recognized the existence of a
             separate self-sufficient and independent tort of “conspiracy”, as a substantive basis of
             civil liability, when it is shown that combination and the force of numbers inject a special
             and unique factual overlay of some additional element worthy of recognition as a basis


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    (Me. 1972) “‘[C]onspiracy’ fails as the basis for the imposition of civil liability absent

    the actual commission of some independently recognized tort; and when such separate

    tort has been committed, it is that tort, and not the fact of combination, which is the

    foundation of the civil liability.” Id.; see also Potter, Prescott, Jamieson & Nelson, P.A.

    v. Campbell, 708 A.2d 283, 286 (Me. 1998). Therefore, if any of the tort claims survive

    the Motion for Summary Judgment, that tort, and not civil conspiracy, will serve as the

    basis for liability. Consequently, summary judgment in favor of SAE is appropriate on

    Count II.

    C.      Prima Facie Tort

            In Count III of his complaint, Fiacco asserts a cause of action for prima facie tort.

    Neither the Law Court nor this Court has recognized a cause of action for prima facie tort

    under Maine law. See Harmon v. Harmon, 404 A.2d 1020, 1023 (Me. 1979) (comparing

    the development of the tort of wrongful interference with business relations to prima

    facie tort, yet failing to recognize prima facie tort as a cause of action in Maine ). Plaintiff

    acknowledges this in his Response. (See Pl’s Opp. To Def.’s Mot for Summ. J. (Docket

    # 71) at 25-26). Nonetheless, Plaintiff encourages this Court to recognize the tort by

    simply citing to one Maine Superior Court case that looks to Missouri law for the

    elements of prima facie tort. See Holland v. Sebunya, 1999 Me. Super. LEXIS 139, *12

    (Me. Superior Ct. May 11, 1999) (assuming that plaintiff had intended to establish prima


            for the imposition of tort liability (such as, for example, coercion, undue influence or
            restraint of trade) and which would be absent were the conduct to be undertaken by one
            person acting alone.

    Cohen, 288 A.2d at 110. Plaintiff has failed to “produce specific facts, in suitable evidentiary form, to
    establish the presence of a trialworthy issue” showing extraordinary circumstances. See Triangle Trading
    Co., 200 F.3d at 2 (citation and internal punctuation omitted). Furthermore, the Court’s research failed to
    unearth a case where a court in Maine affirmatively applied this narrow exception to allow recovery for
    civil conspiracy.


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    facie tort rather than malicious intent to injure and declining to find that plaintiff had

    established prima facie tort). This Court finds that the Law Court would not recognize a

    cause of action for prima facie tort. Accordingly, SAE is entitled to summary judgment

    on Count III.

    D.      Negligent Infliction of Emotional Distress

            Count IV asserts a cause of action for negligent infliction of emotional distress.

    In order to recover for negligent infliction of emotional distress, Plaintiff must establish

    “either a unique relationship between the plaintiff and the defendant, or an underlying

    tort.” Richards v. Town of Eliot, 780 A.2d 281, 293 (Me. 2001). The Law Court has

    found the requisite unique relationship and corresponding duty among physicians and

    patients, see Bolton v. Caine, 584 A.2d 615, 618 (Me. 1990), between a hospital and the

    family of the deceased, see Gammon v. Osteopathic Hosp. of Maine Inc., 534 A.2d 1282,

    1285 (Me. 1987), and between a psychotherapist and a patient, see Rowe v. Bennett, 514

    A.2d 802, 806-07 (Me. 1986).            The Law Court, however, has declined to find the

    requisite relationship between a police officer and an arrestee, see Richards, 780 A.2d at

    293, and between a church and its members, see Bryan R. v. Watchtower Bible & Tract

    Society of New York, Inc., 738 A.2d 839, 849 (Me. 1999). Plaintiff asserts that “a duty

    to act reasonably arose when SAE took on the role of investigating Fiacco and reporting

    issues of concern to the public.” (Pl.’s Mem. in Opp’n to Def.’s Mot. for Summ. J.

    (Docket # 71) at 28). Plaintiff, however, has failed to proffer any evidence or cite any

    cases in support of finding the requisite duty. The Court declines to find that there is a

    unique relationship between Defendant and Plaintiff. 19 In addition, no tort claim remains


    19
      The determination of whether the requisite duty is present is an issue of law for the Court to decide.
    Curtis v. Gagne Porter, 784 A.2d 18, 25 n.15 (Me. 2001).


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    on which to base liability for negligent infliction of emotional distress. Thus, SAE is

    entitled to summary judgment on Count IV.

    E.     Punitive Damages

           Under Maine law, punitive damages are not a separate and distinct cause of

    action. Rather, it is a type of remedy. See Southport Marine, LLC v. Gulf Oil Ltd.

    P’ship, 234 F.3d 58, 64 (1st Cir. 2000); Connors v. Town of Brunswick, 2000 U.S. Dist.

    LEXIS 12253, *40 (D. Me. Aug. 16, 2000) ("[A] claim for punitive damages does not

    constitute a separate and distinct cause of action and that the defendants are entitled to

    summary judgment as to Count VI on that ground alone."). Because none of Plaintiff’s

    causes of action survive and punitive damages do not constitute a separate cause of

    action, Defendant is entitled to summary judgment on Count V.

    IV.    CONCLUSION

           For the foregoing reasons, Defendant’s Motion for Summary Judgment is

    GRANTED (Docket # 54).




           SO ORDERED.

                                         /s/ George Z. Singal
                                         Chief United States District Judge

    Dated at Portland, Maine, this 5th day of April, 2007.




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